          23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 1 of 37


 Fill in this information to identify the case:

 Debtor name                          Entrada Development, LLC

 United States Bankruptcy Court for the:
                                Western District of Texas

 Case number (if known):                23-10317                                                                                      ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ✔
         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ✔
         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ✔
         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ✔
         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ✔
         ❑     Schedule H: Codebtors (Official Form 206H)

         ✔
         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     05/16/2023
                          MM/ DD/ YYYY
                                                                            ✘ /s/ Michael Dixson
                                                                                Signature of individual signing on behalf of debtor


                                                                                Michael Dixson
                                                                                Printed name


                                                                                President
                                                                                Position or relationship to debtor



Official Form B202                                 Declaration Under Penalty of Perjury for Non-Individual Debtors
          23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 2 of 37

 Fill in this information to identify the case:

 Debtor name                          Entrada Development, LLC

 United States Bankruptcy Court for the:
                                Western District of Texas

 Case number (if known):                23-10317                                                                                   ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                               12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as
fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ✔ No. Go to Part 2.
       ❑
       ❑ Yes. Fill in the information below.
       All cash or cash equivalents owned or controlled by the debtor                                                                  Current value of debtor's
                                                                                                                                       interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)             Type of account                  Last 4 digits of account number
       None

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                            $0.00
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ✔ No. Go to Part 3.
       ❑
       ❑ Yes. Fill in the information below.
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       None




Official Form 206A/B                                        Schedule A/B: Assets — Real and Personal Property                                          page 1
           23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 3 of 37

Debtor        Entrada Development, LLC                                                                           Case number (if known)            23-10317
             Name


  8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
       Description, including name of holder of prepayment

       None


  9.   Total of Part 2
                                                                                                                                                              $0.00
       Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10. Does the debtor have any accounts receivable?
         ✔ No. Go to Part 4.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                                                          Current value of debtor's
                                                                                                                                          interest

  11. Accounts Receivable

         11a. 90 days old or less:                                      -                                           = ...... ➔
                                     face amount                            doubtful or uncollectible accounts



         11b. Over 90 days old:                                         -                                           = ...... ➔
                                     face amount                            doubtful or uncollectible accounts


  12. Total of Part 3
                                                                                                                                                              $0.00
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13. Does the debtor own any investments?
         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                         Valuation method used for        Current value of debtor's
                                                                                                         current value                    interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:

         None


  15. Non-publicly traded stock and interests in incorporated and unincorporated
      businesses, including any interest in an LLC, partnership, or joint venture
         Name of fund or stock:                                                     % of
                                                                                    ownership:
         None


  16. Government bonds, corporate bonds, and other negotiable and non-negotiable
      instruments not included in Part 1
         Describe:

Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                           page 2
           23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 4 of 37

Debtor       Entrada Development, LLC                                                                    Case number (if known)            23-10317
             Name



         None


  17. Total of Part 4
                                                                                                                                                      $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18. Does the debtor own any inventory (excluding agriculture assets)?
         ✔ No. Go to Part 6.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                Date of the last        Net book value of   Valuation method used     Current value of debtor's
                                                            physical inventory      debtor's interest   for current value         interest
                                                                                    (Where available)


  19. Raw materials

         None

  20. Work in progress

         None

  21. Finished goods, including goods held for resale

         None

  22. Other inventory or supplies

         None

  23. Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                        $0.00


  24. Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑ Yes
  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)


  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.


Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                   page 3
           23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 5 of 37

Debtor       Entrada Development, LLC                                                                    Case number (if known)            23-10317
             Name



         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  28. Crops — either planted or harvested

         None


  29. Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30. Farm machinery and equipment (Other than titled motor vehicles)

         None

  31. Farm and fishing supplies, chemicals, and feed

         None


  32. Other farming and fishing-related property not already listed in Part 6

         None

  33. Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                          $0.00


  34. Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑ Yes. Is any of the debtor's property stored at the cooperative?
             ❑ No
             ❑ Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  36. Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑ Yes
  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles


  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ✔ No. Go to Part 8.
         ❑
         ❑ Yes. Fill in the information below.



Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 4
           23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 6 of 37

Debtor       Entrada Development, LLC                                                                    Case number (if known)            23-10317
             Name



         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  39. Office furniture

         None


  40. Office fixtures

         None


  41. Office equipment, including all computer equipment and
      communication systems equipment and software

         None


  42. Collectibles Examples: Antiques and figurines; paintings, prints or
      other artwork; books, pictures, or other art objects; china and crystal;
      stamp, coin, or baseball card collections; other collections,
      memorabilia, or collectibles

         None


  43. Total of Part 7
                                                                                                                                                      $0.00
         Add lines 39 through 42. Copy the total to line 86.

  44. Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑ Yes
  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 8: Machinery, equipment, and vehicles


  46. Does the debtor own or lease any machinery, equipment, or vehicles?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                       Net book value of    Valuation method used     Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,    debtor's interest    for current value         interest
         or N-number)                                                              (Where available)


  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm
      vehicles

         None


  48. Watercraft, trailers, motors, and related accessories Examples:
      Boats, trailers, motors, floating homes, personal watercraft, and fishing
      vessels



Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 5
           23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 7 of 37

Debtor        Entrada Development, LLC                                                                       Case number (if known)            23-10317
             Name



         None


  49. Aircraft and accessories

         None


  50. Other machinery, fixtures, and equipment (excluding farm machinery
      and equipment)

         None


  51. Total of Part 8
                                                                                                                                                          $0.00
         Add lines 47 through 50. Copy the total to line 87.

  52. Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑ Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 9: Real Property


  54. Does the debtor own or lease any real property?
         ❑ No. Go to Part 10.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                    Nature and extent of Net book value of     Valuation method used      Current value of debtor's
         Include street address or other description such as    debtor's interest in debtor's interest     for current value          interest
         Assessor Parcel Number (APN), and type of property     property             (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

              6 Candleleaf                                      Fee Simple                  (Unknown)                                           $1,600,000.00
         55.1 6 Candleleaf Ct The Hills, TX 78738-1444


  56. Total of Part 9
                                                                                                                                                $1,600,000.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57. Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑ Yes
  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 10: Intangibles and Intellectual Property


Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                    page 6
           23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 8 of 37

Debtor       Entrada Development, LLC                                                                    Case number (if known)            23-10317
             Name



  59. Does the debtor have any interests in intangibles or intellectual property?
         ✔ No. Go to Part 11.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                                       Net book value of   Valuation method used      Current value of debtor's
                                                                                   debtor's interest   for current value          interest
                                                                                   (Where available)


  60. Patents, copyrights, trademarks, and trade secrets

         None

  61. Internet domain names and websites

         None


  62. Licenses, franchises, and royalties

         None

  63. Customer lists, mailing lists, or other compilations

         None


  64. Other intangibles, or intellectual property

         None

  65. Goodwill

         None


  66. Total of Part 10
                                                                                                                                                      $0.00
         Add lines 60 through 65. Copy the total to line 89.

  67. Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 11: All other assets


  70. Does the debtor own any other assets that have not yet been reported on this form?
         ✔ No. Go to Part 12.
         ❑
         ❑ Yes. Fill in the information below.



Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 7
           23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 9 of 37

Debtor        Entrada Development, LLC                                                                   Case number (if known)            23-10317
             Name



                                                                                                                                  Current value of debtor's
                                                                                                                                  interest

  71. Notes receivable
         Description (include name of obligor)

         None


  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73. Interests in insurance policies or annuities

         None


  74. Causes of action against third parties (whether or not a lawsuit has been filed)

         None


  75. Other contingent and unliquidated claims or causes of action of every nature,
      including counterclaims of the debtor and rights to set off claims

         None


  76. Trusts, equitable or future interests in property

         None


  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership

         None


  78. Total of Part 11
                                                                                                                                                      $0.00
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 8
             23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 10 of
                                                     37
Debtor        Entrada Development, LLC                                                                                               Case number (if known)           23-10317
              Name


 Part 12: Summary


         Type of property                                                                    Current value of                            Current value
                                                                                             personal property                           of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                                         $0.00

  81. Deposits and prepayments. Copy line 9, Part 2.                                                                  $0.00

  82. Accounts receivable. Copy line 12, Part 3.                                                                      $0.00

  83. Investments. Copy line 17, Part 4.                                                                              $0.00

  84. Inventory. Copy line 23, Part 5.                                                                                $0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                       $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy
      line 43, Part 7.                                                                                                $0.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                       $0.00


                                                                                                                                ➔                   $1,600,000.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                   $0.00

  90. All other assets. Copy line 78, Part 11.                                          +                             $0.00



  91. Total. Add lines 80 through 90 for each column......                          91a.                              $0.00   + 91b.                $1,600,000.00



                                                                                                                                                                         $1,600,000.00
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                    Schedule A/B: Assets — Real and Personal Property                                                page 9
         23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 11 of
                                                 37
 Fill in this information to identify the case:

     Debtor name     Entrada Development, LLC

     United States Bankruptcy Court for the:                 Western                 District of             Texas
                                                                                                   (State)
     Case number (if known):      23-10317                                                                                                           ❑ Check if this is an
                                                                                                                                                         amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
     Part 1:        List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more                           Column A                       Column B
        than one secured claim, list the creditor separately for each claim.                                               Amount of claim                Value of collateral
                                                                                                                           Do not deduct the value        that supports this
                                                                                                                           of collateral.                 claim

2.1 Creditor’s name                                          Describe debtor’s property that is subject to a
                                                             lien                                                                           $12,457.00         $1,600,000.00
         Travis County Tax Assessor
                                                             6 Candleleaf
        Creditor’s mailing address
                                                             Describe the lien
         General Correspondence
         Po Box 1748
         Austin, TX 78767-1748                               Is the creditor an insider or related party?
                                                             ✔ No
                                                             ❑
        Creditor’s email address, if known                   ❑ Yes
                                                             Is anyone else liable on this claim?
        Date debt was                                        ✔ No
                                                             ❑
        incurred                                             ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Last 4 digits of                                     As of the petition filing date, the claim is:
        account                                              Check all that apply.
        number
                                                             ❑ Contingent
        Do multiple creditors have an interest               ❑ Unliquidated
        in the same property?                                ❑ Disputed
        ❑ No
        ✔ Yes. Specify each creditor, including this
        ❑
                 creditor, and its relative priority.
                 1) Velocity Mortgage; 2) Travis
                 County Tax Assessor




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the                                             $1,221,054.22
        Additional
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
         23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 12 of
                                                 37
Debtor      Entrada Development, LLC                                                               Case number (if known) 23-10317
           Name




  Part 1:         Additional Page                                                                                   Column A                   Column B
                                                                                                                    Amount of claim            Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                    Do not deduct the value    that supports this
 from the
                                                                                                                    of collateral.             claim
 previous page.

2.2 Creditor’s name                                   Describe debtor’s property that is subject to a
                                                      lien                                                                     $1,208,597.22       $1,600,000.00
      Velocity Mortgage
                                                      6 Candleleaf
     Creditor’s mailing address
                                                      Describe the lien
      7000 N Mopac Expy
      Austin, TX 78731-3027
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was                      6/1/2022      Is anyone else liable on this claim?
     incurred                                         ✔ No
                                                      ❑
     Last 4 digits of               2    5   5   1    ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                      As of the petition filing date, the claim is:
     number
                                                      Check all that apply.
     Do multiple creditors have an interest           ❑ Contingent
     in the same property?                            ❑ Unliquidated
     ❑ No                                             ✔ Disputed
                                                      ❑
     ✔ Yes. Have you already specified the
     ❑
               relative priority?
          ❑ No. Specify each creditor, including
                this creditor, and its relative
                priority.



          ✔ Yes. The relative priority of creditors
          ❑
                   is specified on lines 2.1




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2 of 3
         23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 13 of
                                                 37
Debtor      Entrada Development, LLC                                                  Case number (if known) 23-10317
           Name




  Part 2:         List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed
 are collection agencies, assignees of claims listed above, and attorneys for secured creditors.

 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy
 this page.


 Name and address                                                                                    On which line in Part   Last 4 digits of
                                                                                                     1                       account number
                                                                                                     did you enter the       for this entity
                                                                                                     related creditor?

 McCalla Raymer Leibert Pierce, LLC
 1320 Greenway Dr Ste 780                                                                           Line 2. 2                2   5   5   1
 Irving, TX 75038-2550



                                                                                                    Line 2.




                                                                                                    Line 2.




                                                                                                    Line 2.




                                                                                                    Line 2.




                                                                                                    Line 2.




                                                                                                    Line 2.




                                                                                                    Line 2.




                                                                                                    Line 2.




                                                                                                    Line 2.




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                  page 3 of 3
            23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 14 of
                                                    37
 Fill in this information to identify the case:

 Debtor name                          Entrada Development, LLC

 United States Bankruptcy Court for the:
                                Western District of Texas

 Case number (if known):                23-10317                                                                                   ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑ No. Go to Part 2.
        ✔ Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

2.1 Priority creditor’s name and mailing address             As of the petition filing date, the claim is:    unknown                       unknown
                                                             Check all that apply.
       Internal Revenue Service
                                                             ❑ Contingent
       Austin Service Center                                 ❑ Unliquidated
       Attn Aur
                                                             ❑ Disputed
       Austin, TX 73301-0001                                 Basis for the Claim:

       Date or dates debt was incurred
                                                             Is the claim subject to offset?
                                                             ✔ No
                                                             ❑
       Last 4 digits of account                              ❑ Yes
       number
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)

2.2 Priority creditor’s name and mailing address             As of the petition filing date, the claim is:    unknown                       unknown
                                                             Check all that apply.
       Texas Comptroller of Public Account
                                                             ❑ Contingent
       Attn: Bankruptcy                                      ❑ Unliquidated
       Po Box 149359
                                                             ❑ Disputed
       Austin, TX 78714-9359                                 Basis for the Claim:

       Date or dates debt was incurred
                                                             Is the claim subject to offset?
                                                             ✔ No
                                                             ❑
       Last 4 digits of account                              ❑ Yes
       number
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)




Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of 3
             23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 15 of
                                                     37
Debtor        Entrada Development, LLC                                                                        Case number (if known)            23-10317
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $110,275.00
                                                                            Check all that apply.
       Michael Dixson
                                                                            ❑ Contingent
       6 Candleleaf Ct                                                      ❑ Unliquidated
                                                                            ❑ Disputed
       The Hills, TX 78738-1444
                                                                            Basis for the claim: Loan for Remodel
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              unknown
                                                                            Check all that apply.
       Pedernales Electric Cooperative
                                                                            ❑ Contingent
       1949 W Whitestone Blvd                                               ❑ Unliquidated
                                                                            ❑ Disputed
       Cedar Park, TX 78613-7200
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:
3.3                                                                         Check all that apply.
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                            ❑ No
       Last 4 digits of account number                                      ❑ Yes
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:
3.4                                                                         Check all that apply.
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                            ❑ No
       Last 4 digits of account number                                      ❑ Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                              page 2 of 3
            23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 16 of
                                                    37
Debtor       Entrada Development, LLC                                                             Case number (if known)    23-10317
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $0.00




  5b. Total claims from Part 2                                                     5b.              $110,275.00
                                                                                          +

  5c. Total of Parts 1 and 2                                                       5c.              $110,275.00
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                           page 3 of 3
            23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 17 of
                                                    37
 Fill in this information to identify the case:

 Debtor name                          Entrada Development, LLC

 United States Bankruptcy Court for the:
                                Western District of Texas

 Case number (if known):                23-10317            Chapter     11                                                        ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ✔ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ❑
       ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or
2.1    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.2    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.3    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.4    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract




Official Form 206G                                    Schedule G: Executory Contracts and Unexpired Leases                                                page 1 of 1
       23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 18 of
                                               37
 Fill in this information to identify the case:

  Debtor name          Entrada Development, LLC


  United States Bankruptcy Court for the:              Western           District of             Texas

                                                                                                                                     ❑ Check if this is an
                                                                                       (State)
  Case number (If known):            23-10317
                                                                                                                                          amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ✔ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ❑
        ❑ Yes
  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                              Column 2: Creditor

                                                                                                                                      Check all schedules
         Name                               Mailing address                                              Name
                                                                                                                                      that apply:

 2.1                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                 State                  ZIP Code

 2.2                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                 State                  ZIP Code

 2.3                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                 State                  ZIP Code

 2.4                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                 State                  ZIP Code

 2.5                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                 State                  ZIP Code




Official Form 206H                                                Schedule H: Codebtors                                                        page 1 of    2
         23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 19 of
                                                 37
Debtor       Entrada Development, LLC                                                      Case number (if known) 23-10317
             Name


                  Additional Page if Debtor Has More Codebtors

                 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

          Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                              Check all schedules
          Name                         Mailing address                                           Name
                                                                                                                              that apply:

 2.6                                                                                                                          ❑D
                                       Street                                                                                 ❑ E/F
                                                                                                                              ❑G

                                       City                   State             ZIP Code




Official Form 206H                                              Schedule H: Codebtors                                             page   2   of     2
               23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 20 of
                                                       37

 Fill in this information to identify the case:

 Debtor name                                        Entrada Development, LLC

 United States Bankruptcy Court for the:
                                            Western District of Texas

 Case number (if known):                              23-10317                           Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                         12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                      $1,600,000.00


    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                              $0.00

    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                       $1,600,000.00




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                       $1,221,054.22



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                 $0.00


    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +            $110,275.00




 4. Total liabilities..............................................................................................................................................................................                    $1,331,329.22

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                            page 1
              23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 21 of
                                                      37
 Fill in this information to identify the case:

 Debtor name                            Entrada Development, LLC

 United States Bankruptcy Court for the:
                                   Western District of Texas

 Case number (if known):                 23-10317                                                                              ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ✔ Operating a business
                                                                                         ❑                                                             $0.00
       fiscal year to filing date:        From 01/01/2023
                                                  MM/ DD/ YYYY
                                                                  to    Filing date
                                                                                         ✔ Other
                                                                                         ❑

       For prior year:                    From 01/01/2022         to    12/31/2022       ✔ Operating a business
                                                                                         ❑                                                             $0.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY   ✔ Other
                                                                                         ❑

       For the year before that:          From 01/01/2021         to    12/31/2021       ✔ Operating a business
                                                                                         ❑                                                             $0.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY   ✔ Other
                                                                                         ❑


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:       From 01/01/2023          to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                   From 01/01/2022          to    12/31/2022
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:         From 01/01/2021          to    12/31/2021
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 1
Debtor
               23-10317-hcm         Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45
               Entrada Development, LLC
                                                                                    Main Document Pg23-10317
                                                                                Case number (if known)
                                                                                                       22 of
               Name                                            37
 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ✔ None
        ❑
         Creditor’s name and address                        Dates              Total amount or value           Reasons for payment or transfer
                                                                                                               Check all that apply

 3.1.                                                                                                          ❑ Secured debt
        Creditor's name                                                                                        ❑ Unsecured loan repayments
                                                                                                               ❑ Suppliers or vendors
                                                                                                               ❑ Services
        Street

                                                                                                               ❑ Other
        City                        State    ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ✔ None
        ❑
         Insider’s name and address                         Dates              Total amount or value           Reasons for payment or transfer


 4.1.
        Creditor's name


        Street




        City                        State    ZIP Code

         Relationship to debtor




 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the property                               Date                    Value of property




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 2
Debtor
               23-10317-hcm         Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45
               Entrada Development, LLC
                                                                                    Main Document Pg23-10317
                                                                                Case number (if known)
                                                                                                       23 of
               Name                                            37
 5.1.
        Creditor's name


        Street




        City                        State     ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                        State     ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ❑ None
 7.1.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        Abilene Village, LLC and Pillar         Contract                                104th District Court                                  ❑ Pending
                                                                                                                                              ❑ On appeal
        Abilene Village Investors, LLC                                                  Name
        v. PDG, Inc., JFAL Holding
                                                                                                                                              ✔ Concluded
                                                                                        300 Oak St Ste 402
        Company, LLC, and Michael                                                       Street                                                ❑
        Dixson

                                                                                        Abilene, TX 79602-1534
         Case number                                                                    City                         State     ZIP Code

        27844-B



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 3
Debtor
                23-10317-hcm         Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45
                Entrada Development, LLC
                                                                                     Main Document Pg23-10317
                                                                                 Case number (if known)
                                                                                                        24 of
                Name                                            37
 8.1.     Custodian’s name and address                     Description of the property                          Value


         Custodian’s name
                                                           Case title                                           Court name and address
         Street
                                                                                                               Name

                                                           Case number                                         Street
         City                        State     ZIP Code



                                                           Date of order or assignment                         City                          State   ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.      List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
         to that recipient is less than $1,000
         ✔ None
         ❑
 9.1.     Recipient’s name and address                      Description of the gifts or contributions                   Dates given          Value


         Recipient’s name


         Street




         City                        State     ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔ None
         ❑
           Description of the property lost and how the         Amount of payments received for the loss                      Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                            lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 4
Debtor
                23-10317-hcm         Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45
                Entrada Development, LLC
                                                                                     Main Document Pg23-10317
                                                                                 Case number (if known)
                                                                                                        25 of
                Name                                            37
 11.1.    Who was paid or who received the transfer?            If not money, describe any property transferred           Dates              Total amount or
                                                                                                                                             value

         The Smeberg Law Firm                                  Filing and Attorney's Fee                                05/02/2023                   $12,000.00


          Address

         4 Imperial Oaks
         Street


         San Antonio, TX 78248
         City                        State    ZIP Code


          Email or website address

         ron@smeberg.com

          Who made the payment, if not debtor?

         Michael Dixson




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                            Describe any property transferred                        Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑
 13.1.    Who received the transfer?                         Description of property transferred or payments            Date transfer       Total amount or
                                                             received or debts paid in exchange                         was made            value




          Address


         Street




         City                        State    ZIP Code


          Relationship to debtor




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 5
Debtor
                23-10317-hcm         Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45
                Entrada Development, LLC
                                                                                     Main Document Pg23-10317
                                                                                 Case number (if known)
                                                                                                        26 of
                Name                                            37
 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ❑ Does not apply
          Address                                                                                              Dates of occupancy

 14.1. 780 N Resler Dr B                                                                                      From    4/29/2022        To 6/1/2022
       Street



         El Paso, TX 79912-7195
         City                        State       ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                         Nature of the business operation, including type of services the       If debtor provides meals
                                                            debtor provides                                                        and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street
                                                            Location where patient records are maintained(if different from        How are records kept?
                                                            facility address). If electronic, identify any service provider.
         City                   State    ZIP Code                                                                                 Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ✔ No.
         ❑
         ❑ Yes. State the nature of the information collected and retained.
                  Does the debtor have a privacy policy about that information?
                  ❑ No
                  ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ✔ No. Go to Part 10.
         ❑




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 6
Debtor
               23-10317-hcm         Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45
               Entrada Development, LLC
                                                                                    Main Document Pg23-10317
                                                                                Case number (if known)
                                                                                                       27 of
               Name                                            37
        ❑ Yes. Does the debtor serve as plan administrator?
               ❑ No. Go to Part 10.
               ❑ Yes. Fill in below:
                      Name of plan                                                                     Employer identification number of the plan

                                                                                                      EIN:        –

                       Has the plan been terminated?
                       ❑ No
                       ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
        or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.
        ✔ None
        ❑
         Financial institution name and address           Last 4 digits of account       Type of account              Date account was          Last balance
                                                          number                                                      closed, sold, moved,      before closing
                                                                                                                      or transferred            or transfer

 18.1                                                     XXXX–                         ❑ Checking
        Name
                                                                                        ❑ Savings
        Street
                                                                                        ❑ Money market
                                                                                        ❑ Brokerage
                                                                                        ❑ Other
        City                      State   ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑
 19.1    Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑ No
                                                                                                                                                 ❑ Yes
        Name


        Street

                                                          Address

        City                      State   ZIP Code


 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
        debtor does business.
        ✔ None
        ❑




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 7
Debtor
                23-10317-hcm         Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45
                Entrada Development, LLC
                                                                                     Main Document Pg23-10317
                                                                                 Case number (if known)
                                                                                                        28 of
                Name                                            37
 20.1     Facility name and address                              Names of anyone with access to it      Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                                 Address

         City                      State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
         leased or rented property.
         ✔ None
         ❑
          Owner’s name and address                                    Location of the property                Description of the property                  Value


         Name


         Street




         City                        State     ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.
        Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
        harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Case title                                      Court or agency name and address                   Nature of the case                           Status of case

                                                                                                                                                        ❑ Pending
          Case number
                                                        Name
                                                                                                                                                        ❑ On appeal
                                                        Street
                                                                                                                                                        ❑ Concluded


                                                        City                         State   ZIP Code




Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 8
Debtor
                23-10317-hcm         Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45
                Entrada Development, LLC
                                                                                     Main Document Pg23-10317
                                                                                 Case number (if known)
                                                                                                        29 of
                Name                                            37
 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                      Governmental unit name and address                   Environmental law, if known                Date of notice


         Name                                       Name


         Street                                     Street




         City                 State   ZIP Code      City                        State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
         ✔ No
         ❑
         ❑ Yes. Provide details below.
          Site name and address                      Governmental unit name and address                   Environmental law, if known                Date of notice


         Name                                       Name


         Street                                     Street




         City                 State   ZIP Code      City                        State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
         information even if already listed in the Schedules.
         ✔ None
         ❑
          Business name and address                  Describe the nature of the business                          Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
 25.1.
                                                                                                                EIN:        –
         Name
                                                                                                                  Dates business existed
         Street
                                                                                                                From                  To



         City                 State   ZIP Code


 26. Books, records, and financial statements
 26a.    List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         ❑None




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 9
Debtor
                 23-10317-hcm         Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45
                 Entrada Development, LLC
                                                                                      Main Document Pg23-10317
                                                                                  Case number (if known)
                                                                                                         30 of
                 Name                                            37
           Name and address                                                                                Dates of service

 26a.1. Herrera Tax & Bookkeeping Firm                                                                    From 9/2021         To Current
          Name
          720 Belvidere St Ste E5
          Street



          El Paso, TX 79912-2386
          City                                      State                  ZIP Code

           Name and address                                                                                Dates of service

 26a.2. Michael Dixson                                                                                    From 9/2021         To Current
          Name
          6 Candleleaf Ct
          Street



          Austin, TX 78738
          City                                      State                  ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ❑None
           Name and address                                                                                Dates of service

 26b.1. Herrera Tax & Bookkeeping Firm                                                                    From 9/2021         To Current
          Name
          720 Belvidere St Ste E5
          Street



          El Paso, TX 79912-2386
          City                                      State                  ZIP Code

           Name and address                                                                                Dates of service

 26b.2. Michael Dixson                                                                                    From 9/2021         To Current
          Name
          6 Candleleaf Ct
          Street



          The Hills, TX 78738-1444
          City                                      State                  ZIP Code


 26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
          ❑None
           Name and address                                                                                If any books of account and records are
                                                                                                           unavailable, explain why
 26c.1.
          Herrera Tax & Bookkeeping Firm
          Name
          720 Belvidere St Ste E5
          Street



          El Paso, TX 79912-2386
          City                                      State                  ZIP Code




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 10
Debtor
                  23-10317-hcm         Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45
                  Entrada Development, LLC
                                                                                       Main Document Pg23-10317
                                                                                   Case number (if known)
                                                                                                          31 of
                  Name                                            37
            Name and address                                                                                      If any books of account and records are
                                                                                                                  unavailable, explain why
 26c.2.
           Michael Dixson
           Name
           6 Candleleaf Ct
           Street



           The Hills, TX 78738-1444
           City                                             State                  ZIP Code

 26d.      List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
           statement within 2 years before filing this case.
           ✔None
           ❑
            Name and address

 26d.1.
           Name


           Street




           City                                             State                  ZIP Code


 27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ✔ No
         ❑
         ❑ Yes. Give the details about the two most recent inventories.
           Name of the person who supervised the taking of the inventory                          Date of          The dollar amount and basis (cost, market, or
                                                                                                  inventory        other basis) of each inventory




           Name and address of the person who has possession of inventory records

 27.1.
          Name


          Street




          City                                      State               ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
           Name                           Address                                                       Position and nature of any          % of interest, if any
                                                                                                        interest

         Michael Dixson                  6 Candleleaf Ct Austin, TX 78738                              Manger, Managing Member                           33.00%

         Christina Dixson                6 Candleleaf Ct The Hills, TX 78738-1444                      Manger, Managing Member                           33.00%

         PDG Prestige Inc                910 E Redd Rd Ste K Pmb 436 El Paso, TX                       President, Managing Member                        34.00%
                                         79912-7348

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ✔ No
         ❑
         ❑ Yes. Identify below.


Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 11
Debtor
               23-10317-hcm         Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45
               Entrada Development, LLC
                                                                                    Main Document Pg23-10317
                                                                                Case number (if known)
                                                                                                       32 of
               Name                                            37
         Name                                 Address                                                     Position and nature of any    Period during which
                                                                                                          interest                      position or interest was
                                                                                                                                        held

                                                                                                      ,                                  From
                                                                                                                                         To

30. Payments, distributions, or withdrawals credited or given to insiders
        Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
        credits on loans, stock redemptions, and options exercised?
        ✔ No
        ❑
        ❑ Yes. Identify below.
         Name and address of recipient                                             Amount of money or description            Dates              Reason for providing
                                                                                   and value of property                                        the value


30.1.
        Name


        Street




        City                                          State         ZIP Code


         Relationship to debtor



31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
        ✔ No
        ❑
        ❑ Yes. Identify below.
               Name of the parent corporation                                                         Employer Identification number of the parent corporation

                                                                                                     EIN:          –


32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
        ✔ No
        ❑
        ❑ Yes. Identify below.
               Name of the pension fund                                                               Employer Identification number of the pension fund

                                                                                                     EIN:          –



Part 14: Signature and Declaration


   WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
   bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


   I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
   correct.


   I declare under penalty of perjury that the foregoing is true and correct.


   Executed on            05/16/2023
                      MM/ DD/ YYYY




   ✘ /s/ Michael Dixson                                                    Printed name                        Michael Dixson
          Signature of individual signing on behalf of the debtor



        Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 12
      Debtor
            23-10317-hcm       Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45
                Entrada Development, LLC
                                                                               Main Document Pg23-10317
                                                                           Case number (if known)
                                                                                                  33 of
                Name                                      37
      Position or relationship to debtor      President



    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                  page 13
        23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 34 of
                                                37

B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Western District of Texas

In re        Entrada Development, LLC

                                                                                                                           Case No.                 23-10317

Debtor                                                                                                                     Chapter                      11


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        ❑ FLAT FEE
        For legal services, I have agreed to accept ................................................................................................................................................

        Prior to the filing of this statement I have received ................................................................................................................................................

        Balance Due ................................................................................................................................................

        ✔ RETAINER
        ❑
        For legal services, I have agreed to accept and received a retainer of ............................................................................................................................
                                                                                                                                                      $12,000.00

        The undersigned shall bill against the retainer at an hourly rate of ..................................................................................................................................
                                                                                                                                                               $400.00
        [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved fees and
        expenses exceeding the amount of the retainer.

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;




                                                                                                  Page 1 of 2
     23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 35 of
                                             37

B2030 (Form 2030) (12/15)


      c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                              CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                         05/16/2023                                              /s/ Ronald Smeberg
                Date                                          Ronald Smeberg
                                                              Signature of Attorney
                                                                                             Bar Number: 24033967
                                                                                             The Smeberg Law Firm
                                                                                                     4 Imperial Oaks
                                                                                        San Antonio, TX 78248-1609
                                                                                              Phone: (210) 695-6684

                                                                             The Smeberg Law Firm
                                                             Name of law firm




                                                                  Page 2 of 2
       23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 36 of
                                               37

Christina Dixson                 Michael Dixson                    JASON A. STARKS
6 Candleleaf Ct                  6 Candleleaf Ct                   Po Box 1748
The Hills, TX 78738-1444         The Hills, TX 78738-1444          Austin, TX 78767-1748




United States Trustee
903 San Jacinto Blvd Ste 230
Austin, TX 78701-2450
  23-10317-hcm Doc#9 Filed 05/16/23 Entered 05/16/23 20:43:45 Main Document Pg 37 of
                                          37
                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                       WESTERN DISTRICT OF TEXAS
                                                             AUSTIN DIVISION

IN RE: Entrada Development, LLC                                                       CASE NO 23-10317

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      05/16/2023            Signature                                 /s/ Michael Dixson
                                                                        Michael Dixson, President
